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Case 4:16-cv-05108-LRS ECF No. 44

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Attorneys for Defendants

filed 05/02/17 PagelD.698 Page 1of5

HON. LONNY R. SUKO

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

Bertha Aranda Glatt,

Plaintiff,
Vv.

CITY OF PASCO, MATT WATKINS,
in his official capacity as Mayor of
Pasco, and REBECCA FRANCIK, BOB
HOFFMANN, TOM LARSEN, SAUL
MARTINEZ, and AL YENNEY, in their
official capacity as members of the Pasco
City Council,

Defendants.

PROPOSED) ORDER
GARDING JOINT MOTION TO
EXPEDITE JOINT MOTION FOR
MINOR MODIFICATION TO
MEMORANDUM OPINION AND
ORDER - 1

No. 4:16-CV-05108-LRS

(PROPOSED) ORDER
REGARDING JOINT MOTION TO
EXPEDITE HEARING ON THE
JOINT MOTION FOR MINOR
MODIFICATION TO
MEMORANDUM OPINION AND
ORDER RE: REMEDIAL PLAN
MAP TO ACCOMMODATE
MINOR CHANGES REQUESTED
BY THE FRANKLIN COUNTY
AUDITOR

May 2, 2017 (without oral argument)

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PHONE (509) 735-1542

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Case 4:16-cv-05108-LRS ECF No. 44 _ filed 05/02/17 PagelD.699 Page 2 of 5

THIS MATTER having come before the Court on the Parties’ Joint Motion
to Expedite Entry of Order Approving Amendment to Remedial Plan and District
Map establishing the City of Pasco City Council voting districts.

IT IS HEREBY ORDERED that:

1. | The Motion to Expedite the hearing on the Motion and the entry of the
Order Approving Modification to Remedial Plan and District Map establishing the
City of Pasco City Council voting districts is GRANTED.

2. The Parties’ Joint Motion to Expedite Joint Motion for Minor
Modification to Memorandum Opinion and Order Re: Remedial Plan Map to
Accommodate Minor Changes Requested by the Franklin County Auditor will be
heard on May 5, 2017.

IT IS SO ORDERED this day of May, 2017.

UNITED STATES DISTRICT COURT JUDGE
LONNY R. SUKO

PROPOSED) ORDER KERR LAW GROUP
GARDING JOINT MOTION TO 7025 WEST GRANDRIDGE BLVD., SUITEA
EXPEDITE JOINT MOTION FOR KENNEWICK, WASHINGTON 99336
MINOR MODIFICATION TO PHONE (509) 735-1542
MEMORANDUM OPINION AND

ORDER - 2

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Case 4:16-cv-05108-LRS ECF No. 44 _ filed 05/02/17 PagelD.700 Page 3 of 5

Presented By:

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PROPOSED) ORDER KERR LAW GROUP
GARDING JOINT MOTION TO 7025 WEST GRANDRIDGE BLVD., SUITEA
EXPEDITE JOINT MOTION FOR KENNEWICK, WASHINGTON 99336
MINOR MODIFICATION TO PHONE (509) 735-1542

MEMORANDUM OPINION AND
ORDER - 3

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Case 4:16-cv-05108-LRS ECF No. 44 _ filed 05/02/17

s/ Gregory Landis

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PROPOSED) ORDER

PagelD.701 Page 4of5

KERR LAW GROUP

GARDING JOINT MOTION TO 7025 WEST GRANDRIDGE BLVD., SUITEA
EXPEDITE JOINT MOTION FOR KENNEWICK, WASHINGTON 99336
MINOR MODIFICATION TO PHONE (509) 735-1542

MEMORANDUM OPINION AND
ORDER - 4

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Case 4:16-cv-05108-LRS ECF No. 44 _ filed 05/02/17 PagelD.702 Page 5of5

CERTIFICATE OF SERVICE
I hereby certify that on this 2"4 day of May, 2017, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF System which will send
notification of such filing to the following:
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PROPOSED) ORDER KERR LAW GROUP
GARDING JOINT MOTION TO 7025 WEST GRANDRIDGE BLVD., SUITEA

EXPEDITE JOINT MOTION FOR
MINOR MODIFICATION TO
MEMORANDUM OPINION AND
ORDER - 5

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